                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI
                                   SOUTHERN DIVISION

GUADALUPE ADAMS,                                   :
                                                   :
              Plaintiff,                           :
                                                   :
v.                                                 :   Case No. 6:15-cv-3294
                                                   :
CV&P, LLC.                                         :
              Defendant                            :
                                                   :


                                             ORDER

        Before the Court is the parties’ Joint Stipulation of Full and Final Dismissal with

 Prejudice. (Doc. 23). The Court has reviewed the pleadings and based on the parties’ stipulation

 and the record before the Court, the Court hereby ORDERS that:

     1) The above-styled cause is hereby DISMISSED, in its entirety, with prejudice;

     2) The parties bear their own respective attorneys’ fees and costs; and

     3) To the extent not otherwise disposed herein, all pending motions are hereby denied or

        moot and the case is closed.

 IT IS SO ORDERED.

 Dated: June 14, 2016

                                              __/s/ Douglas Harpool__________________
                                              Douglas Harpool
                                              UNITED STATES DISTRICT JUDGE




          Case 6:15-cv-03294-MDH Document 24 Filed 06/14/16 Page 1 of 1
